Case 2:21-cv-04145-GW-KES Document 20 Filed 09/30/21 Page 1 of 1 Page ID #:64



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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11 ANDREW SCHECHTER,                             )   Case No. CV 21-4145-GW-KESx
                                                 )
12                    Plaintiff,                 )   ORDER GRANTING
                                                 )   STIPULATION TO DISMISS
13              vs.                              )   ENTIRE ACTION WITH
                                                 )   PREJUDICE
14 LIFE INSURANCE COMPANY OF                     )
   NORTH AMERICA,                                )   Judge: Hon. George H. Wu
15                                               )
             Defendant.                          )   Complaint Filed: May 18, 2021
16                                               )
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18              Based upon the stipulation of the parties and for good cause shown, IT IS
19 HEREBY ORDERED that this action, Case No. 2:21-cv-04145 GW (KESx), is
20 dismissed in its entirety as to all defendants with prejudice. All dates set in this matter
21 are hereby vacated and taken off calendar.
22              IT IS HEREBY FURTHER ORDERED that each party shall bear its own
23 attorneys’ fees and costs in this matter.
24
25 Dated: September 30, 2021
                                             Hon. George H. Wu
26
                                             United States District Judge
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                                                1                Case No. 2:21-cv-04145 GW (KESx)
                                                             ORDER GRANTING STIPULATION TO
     177634.1
                                                        DISMISS ENTIRE ACTION WITH PREJUDICE
